Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17   Page 1 of 30 PageID 4




              EXHIBIT A
Tarrant County - Civil                                                                                                  Page 1 of 1

        Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                                  Page 2 of 30 PageID 5




  Civil - Case and Transaction Information                                                                         11/10/17 10:14 AM
  Cause Number:                048-295648-17                                                                    Date Filed: 10-11-2017
                   ANGELA ELLISON                                                        ALLSTATE FIRE AND CASUALTY
                                                                  | VS |
                                                                                              INSURANCE COMPANY
  Cause of Action:             CONTRACT, CONSUMER/DTPA
  Case Status:                 PENDING
  File Mark      Description                                                                    Assessed Fee          Credit/Paid Fee
  10-11-2017 PLTF ANGELA ELLISON'S ORIG PET                                  N I                      289.00
  10-11-2017 COURT COST (PAID) trans #1                                      Y                                             289.00
  10-11-2017 CIVIL PROCESS REQ                                               I                                                0.00
  10-11-2017 CIVIL INFO SHEET                                                                                                 0.00
  10-11-2017 JURY FEE                                                        N                          40.00
  10-11-2017 COURT COST (PAID) trans #5                                      Y                                              40.00
  10-11-2017 CITATION                                                        V A Svc                     8.00
  10-11-2017 COURT COST (PAID) trans #7                                      Y                                                8.00
  10-11-2017 SERVICE FEE, SUBSEQUENT CERTIFIED MAIL                          V A Svc                    75.00
  10-11-2017 COURT COST (PAID) trans #9                                      Y                                              75.00
  10-11-2017 COPIES - ELECTRONIC (SENT TO DP)                                N                          11.50
  10-11-2017 COURT COST (PAID) trans #11                                     Y                                              11.50
  10-18-2017 CITATION Tr# 7                                                  V A Svc                    -8.00
  10-18-2017 SERVICE FEE, SUBSEQUENT CERTIFIED MAIL Tr# 9 V A Svc                                      -75.00
  10-18-2017 CIT Cert Mail-ISSUED ON ALLSTATE FIRE AND                       N A Svc                    83.00
                 CASUALTY INSURANCE COM-On 10/18/2017
  10-30-2017 CIT Cert Mail Tr# 15 RET EXEC(ALLSTATE FIRE AND I                                                                0.00
                 CA SUALTY INSURANCE COMPANY) On 10/20/2017

                                                       District Clerk's Office
                                               Tom Vandergriff Civil Courts Building
                                 100 N. Calhoun St., 2nd Floor, Fort Worth, Texas 76196, Contact Us
                 Please send questions and comments regarding the District Clerk web site to District Clerk Webmaster




https://egov.tarrantcounty.com/group/dc/civil?p_p_id=subscriberAccessCivil_WAR_subs... 11/10/2017
     Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                        Page 3 of 30 PageID 6
                                                048-295648-17                                                     FILED
                                                                                                     TARRANT COUNTY
                                                                                                     10/11/2017 4:36 PM
                                                                                                    THOMAS A. WILDER
                                                                                                       DISTRICT CLERK
                               CAUSE NO. __________________________

ANGELA ELLISON                                         §                IN THE DISTRICT COURT
                                                       §
                 Plaintiff                             §
                                                       §
v.                                                     §                TARRANT COUNTY, TEXAS
                                                       §
                                                       §
ALLSTATE FIRE AND CASUALTY                             §
INSURANCE COMPANY                                      §                ______ JUDICIAL DISTRICT
                                                       §
                   Defendant
______________________________________________________________________________

                   PLAINTIFF ANGELA ELLISON’S ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Angela Ellison, (hereinafter referred to as “Plaintiff”), complaining of Allstate Fire

and Casualty Insurance Company, (hereinafter referred to as “Defendant”) and for cause of action would

respectfully show unto this Honorable Court and Jury as follows:

                                   DISCOVERY CONTROL PLAN

1. Plaintiff intends for discovery to be conducted under Level 2 of Texas Rule of Civil Procedure 190.3 and
     affirmatively pleads that this suit is not governed by the expedited-actions process of Texas Rule of Civil

     Procedure 169 because Plaintiff seeks monetary relief of over $100,000.00.

                                                  PARTIES

2. Plaintiff is an individual residing in Tarrant County, Texas.
3. Allstate Fire and Casualty Insurance Company is a foreign insurance company engaging in the business

     of insurance in the State of Texas. Defendant may be served with process by serving its registered agent

_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                           Page | 1
    Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                         Page 4 of 30 PageID 7


    of service, CT Corporation System, located at the following address: 1999 Bryan St Ste 900 Dallas, TX

    75201.

                                               JURISDICTION

4. The Court has jurisdiction over this cause of action because the amount in controversy is within the

    jurisdictional limits of the Court.

5. The Court has jurisdiction over Defendant Allstate Fire and Casualty Insurance Company because

    Defendant is a foreign insurance company that engages in the business of insurance in the State of Texas

    and Plaintiff’s causes of action arise out of Defendant’s business activities in the State of Texas.

    Specifically, Allstate Fire and Casualty Insurance Company sought out and marketed for insurance in

    Texas and has “purposefully availed” itself of the privilege of conducting activities in Texas. Kelly v.

    General Interior Constr., Inc., 301 S.W.3d 653, 660-61 (Tex. 2010).
                                                   VENUE

6. Venue is proper in Tarrant County, Texas, because the Property is situated in Tarrant County, Texas. TEX.
    CIV. PRAC. & REM. CODE § 15.032.

                                                    FACTS

7. Plaintiff purchased a policy from Defendant Allstate Fire and Casualty Insurance Company, (hereinafter

    referred to as “the Policy”), which was in effect at the time of loss.

8. The Policy was purchased to insure Plaintiff’s property, (hereinafter referred to as “the Property”), which

    is located at 4800 Hideout Trl, Arlington, Texas 76016.

9. Defendant Allstate Fire and Casualty Insurance Company and/or its agent sold the Policy insuring the
    Property to Plaintiff.
_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                         Page | 2
    Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                          Page 5 of 30 PageID 8


10. Plaintiff is a “consumer” as defined under the Texas Deceptive Trade Practices Act (“DTPA”) because

    she is an individual who sought or acquired by purchase or lease, goods or services, for commercial,
    personal or household use.

11. On or about March 16, 2016, Plaintiff experienced a severe weather related event which caused substantial

    damage to the Property and surrounding homes and businesses in the area. The Property’s damage
    constitutes a covered loss under the Policy issued by Defendant Allstate Fire and Casualty Insurance

    Company. Plaintiff subsequently opened a claim on March 16, 2016 and Defendant Allstate Fire and

    Casualty Insurance Company assigned an adjuster to adjust the claim.

12. Thereafter, Defendant Allstate Fire and Casualty Insurance Company wrongfully underpaid Plaintiff’s

    claim and refused to issue a full and fair payment for the covered loss as was rightfully owed under the

    Policy.

13. Defendant made numerous errors in estimating the value of Plaintiff’s claim, as exhibited by its assigned

    adjuster’s method of investigation and estimation of Plaintiff’s loss, all of which were designed to

    intentionally minimize and underpay the loss incurred by Plaintiff. Defendant’s assigned adjuster failed
    to fully quantify Plaintiff’s covered losses, thus demonstrating that Defendant’s assigned adjuster did not

    conduct a thorough investigation of Plaintiff’s claim and/or intentionally adjusted Plaintiff’s claim

    improperly.

14. Specifically, Defendant, independently and through its assigned adjuster, intentionally and knowingly

    conducted a substandard investigation of the Property. This is evidenced by Defendant’s assigned

    adjuster’s estimate, which failed to include all necessary items Plaintiff is entitled to under the Policy to

_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                            Page | 3
    Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                        Page 6 of 30 PageID 9


    place the Property in a pre-loss condition. These necessary items are covered and required under the

    International Building Code and/or International Residential Code, as adopted by the State of Texas in
    2001.

15. In addition, the Occupational Safety and Health Administration (“OSHA”) dictates, when working on

    buildings with “unprotected sides and edges” that “each employee on a walking/working surface
    (horizontal and vertical surface) with an unprotected side or edge which is 6 feet (1.8m) or more above a

    lower level SHALL be protected from falling by the use of guardrail systems, safety net systems, or

    personal fall arrest systems.” Occupational Safety and Health Act of 1970 § 1926.501(b)(1) (emphasis

    added). This protection was intentionally not included or reflected within the scope of work provided by

    Defendant for Plaintiff’s damages to the Property as an attempt to further deny Plaintiff benefits owed

    under the Policy.

16. Defendant’s estimate did not allow for adequate funds to cover the cost of repairs and therefore grossly

    undervalued all of the damages sustained to the Property. As a result of Defendant’s conduct, Plaintiff’s

    claim was intentionally and knowingly underpaid.
17. Defendant’s assigned adjuster acted as an authorized agent of Defendant Allstate Fire and Casualty

    Insurance Company. Defendant’s assigned adjuster acted within the course and scope of their authority as

    authorized by Defendant Allstate Fire and Casualty Insurance Company. Plaintiff relied on Defendant and

    Defendant’s assigned adjuster to properly adjust the claim regarding the Property and to be issued payment

    to fix such damage, which did not happen and has not been rectified to date.



_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                         Page | 4
   Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                         Page 7 of 30 PageID 10


18. Defendant Allstate Fire and Casualty Insurance Company failed to perform its contractual duties to

    adequately compensate Plaintiff under the terms of the Policy. Specifically, Defendant refused to pay the
    full proceeds owed under the Policy. Due demand was made by Plaintiff for proceeds to be in an amount

    sufficient to cover the damaged Property.

19. Defendant and/or Defendant’s assigned agent sold the Policy to Plaintiff, making various statements and
    representations to Plaintiff that the Property would be covered. Relying on the promises and

    representations made by Defendant and/or Defendant’s assigned agent, Plaintiff filed a claim under the

    Policy with the belief that the Property would be covered after a severe weather event such as the one that

    damaged the Property.

20. All conditions precedent to recovery under the Policy had, and have, been carried out and accomplished

    by Plaintiff.

21. As a result of Defendant’s wrongful acts and omissions, Plaintiff was forced to retain the professional

    services of McClenny Moseley & Associates, PLLC, who is representing Plaintiff with respect to these

    causes of action.


                                                 AGENCY

22. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing

    paragraphs.

23. All acts by Defendant Allstate Fire and Casualty Insurance Company were undertaken and completed by
    its officers, agents, servants, employees, and/or representatives. All such acts were either done with the

_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                          Page | 5
   Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                        Page 8 of 30 PageID 11


    full authorization or ratification of Defendant Allstate Fire and Casualty Insurance Company and/or were

    completed in its normal and routine course and scope of employment.
24. Defendant and Defendant’s assigned adjuster’s conduct constitutes multiple violations of the Texas

    Insurance Code, Unfair Settlement Practices. TEX. INS. CODE § 541.060(a). All violations under this

    subsection are made actionable by TEX. INS. CODE § 541.151.
25. Defendant is liable for the unfair and deceptive acts of its assigned adjuster because he/she meets the

    definition of a “person” as defined by the Texas Insurance Code. The term “person” is defined as “any

    individual, corporation, association, partnership, reciprocal or inter insurance exchange, Lloyds plan,

    fraternal benefit society, or other legal entity engaged in the business of insurance, including an agent,

    broker, adjuster or life and health insurance counselor.” TEX. INS. CODE §541.002(2) (emphasis added);

    see also Liberty Mutual Ins. Co. v. Garrison Contractors, Inc. 966 S.W.2d 482, 484 (Tex. 1998) (holding
    an insurance company employee to be a person for the purpose of bringing a cause of action against them

    under the Texas Insurance Code and subjecting them to individual liability).

                                               NEGLIGENCE

26. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing

    paragraphs.

27. Plaintiff entrusted Defendant to properly adjust Plaintiff’s insurance claim for the Property damage.

    Defendant did not properly adjust the claim and misinformed Plaintiff of the severity of the Property
    damage. Defendant had and owed a duty to ensure that the Property damage was properly adjusted.



_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                         Page | 6
   Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                           Page 9 of 30 PageID 12


    Nevertheless, Defendant failed to ensure that Plaintiff’s damage was properly adjusted. This failure is a

    clear breach of Defendant’s duty, and as a result, Plaintiff suffered significant injuries.
28. Defendant Allstate Fire and Casualty Insurance Company and its assigned adjuster had and owed a legal

    duty to Plaintiff to properly adjust all losses associated with the Property. Defendant, individually and

    through its assigned adjuster, breached this duty in a number of ways, including, but not limited to, the
    following:

                  A. Defendant, individually and through its assigned adjuster, was to exercise due care in

                      adjusting and paying policy proceeds regarding the Property;

                  B. Defendant, individually and through its assigned adjuster, had a duty to competently and

                      completely handle and pay all covered losses associated with the Property;

                  C. Defendant, individually and through its assigned adjuster, failed to properly complete all

                      adjusting activities associated with Plaintiff’s damages; and,

                  D. Defendant’s acts, omissions, and/or breaches, individually and through its assigned

                      adjuster, did great damage to Plaintiff, and were a proximate cause of Plaintiff’s damages.

                                       BREACH OF CONTRACT

29. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing

    paragraphs.

30. Defendant Allstate Fire and Casualty Insurance Company’s conduct constitutes a breach of the insurance
    contract made between Defendant Allstate Fire and Casualty Insurance Company and Plaintiff. According

    to the Policy, which Plaintiff purchased, Defendant Allstate Fire and Casualty Insurance Company had

_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                            Page | 7
  Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                           Page 10 of 30 PageID 13


    the absolute duty to investigate Plaintiff’s damages, and pay Plaintiff policy benefits for the claims made

    due to the extensive storm-related damages.
31. As a result of the storm-related event, Plaintiff suffered extreme weather related damages. Despite

    objective evidence of weather related damages provided by Plaintiff and her representatives, Defendant

    Allstate Fire and Casualty Insurance Company breached its contractual obligations under the Policy by
    failing to pay Plaintiff cost related benefits to properly repair the Property, as well as for related losses

    associated with the subject loss event. As a result of this breach, Plaintiff has suffered additional actual

    and consequential damages.

         VIOLATIONS OF THE TEXAS DECEPTIVE TRADE PRACTICES ACT

32. Plaintiff hereby incorporates by reference all facts and circumstances set forth under the foregoing

    paragraphs.

33. Defendant and/or its assigned adjuster engaged in false, misleading, or deceptive acts or practices that

    constitute violations of the Texas Deceptive Trade Practices Act (“DTPA”), which is codified in the Texas
    Business and Commerce Code (“TEX. BUS. & COM. CODE”), including but not limited to:

                  A. Representing that an agreement confers or involves rights, remedies, or obligations which

                      it does not have or involve, or which are prohibited by law (TEX. BUS. & COM. CODE

                      § 17.46(b)(12));

                  B. Misrepresenting the authority of a salesman, representative, or agent to negotiate the final

                      terms of a consumer transaction (§ 17.46(b)(14));



_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                            Page | 8
  Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                            Page 11 of 30 PageID 14


                 C. Failing to disclose information concerning goods or services which were known at the

                     time of the transaction, and the failure to disclose such information was intended to
                     induce the consumer into a transaction into which the consumer would not have entered

                     had such information been disclosed (§ 17.46(b)(24));

                 D. Using or employing an act or practice in violation of the Texas Insurance Code (§
                     17.50(a)(4));

                 E. Unreasonably delaying the investigation, adjustment, settlement offer and prompt

                     resolution of Plaintiff’s claim (TEX. INS. CODE § 541.060(a)(2)-(5));

                 F. Failure to properly investigate Plaintiff’s claim (§ 541.060(7)); and/or

                 G. Hiring and relying upon a biased adjuster, in this case Defendant’s assigned adjuster, to

                     obtain a favorable, results-oriented report, and to assist Defendant in severely

                     underpaying and/or denying Plaintiff’s damage claim (TEX. BUS. & COM. CODE §

                     17.46(31)).

34. As described in this Original Petition, Defendant Allstate Fire and Casualty Insurance Company
    represented to Plaintiff that her Policy and Allstate Fire and Casualty Insurance Company’s adjusting and

    investigative services had characteristics or benefits that it actually did not have, which gives Plaintiff the

    right to recover proceeds. TEX. BUS. & COM. CODE § 17.46(b)(5).

35. As described in this Original Petition, Defendant Allstate Fire and Casualty Insurance Company

    represented to Plaintiff that her Policy and Allstate Fire and Casualty Insurance Company’s adjusting and



_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                              Page | 9
  Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                           Page 12 of 30 PageID 15


    investigative services were of a particular standard, quality, or grade when they were of another, which

    stands in violation of § 17.46 (b)(7).
36. By Defendant Allstate Fire and Casualty Insurance Company representing that they would pay the entire

    amount needed by Plaintiff to repair the damages caused by the weather related event and then not doing

    so, Defendant has violated §§ 17.46 (b)(5), (7), (12).
37. Defendant Allstate Fire and Casualty Insurance Company has breached an express warranty that the

    damage caused by the storm-related event would be covered under Policy. This breach entitles Plaintiff

    to recover under §§ 17.46 (b) (12), (20); 17.50 (a)(2).

38. Defendant Allstate Fire and Casualty Insurance Company’s actions, as described herein, are

    unconscionable in that Defendant took advantage of Plaintiff’s lack of knowledge, ability, and experience

    to a grossly unfair degree. Therefore, Defendant’s unconscionable conduct gives Plaintiff the right to

    relief under § 17.50(a)(3).

39. Defendant Allstate Fire and Casualty Insurance Company’s conduct, acts, omissions, and failures, as

    described in this Original Petition, are unfair practices in the business of insurance and are in violation of
    § 17.50 (a)(4).

40. Plaintiff is a consumer, as defined under the DTPA, and relied upon these false, misleading, and/or

    deceptive acts and/or practices, made by Defendant Allstate Fire and Casualty Insurance Company, to her

    detriment. As a direct and proximate result of Defendant’s collective acts and conduct, Plaintiff has been

    damaged in an amount in excess of the minimum jurisdictional limits of this Court, for which Plaintiff



_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                           Page | 10
  Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                          Page 13 of 30 PageID 16


    now sues. All of the aforementioned acts, omissions, and failures of Defendant are a producing cause of

    Plaintiff’s damages which are described in this Original Petition.
41. Because Defendant’s collective actions and conduct were committed knowingly and intentionally, in

    addition to all damages described herein, Plaintiff is entitled to recover mental anguish damages and

    additional penalty damages, in an amount not to exceed three times such actual damages. § 17.50(b)(1).
42. As a result of Defendant’s unconscionable, misleading, and deceptive actions and conduct, Plaintiff has

    been forced to retain the legal services of the undersigned attorneys to protect and pursue these claims on

    her behalf. Accordingly, Plaintiff also seeks to recover her costs and reasonable and necessary attorney’s

    fees as permitted under § 17.50(d), as well as any other such damages to which Plaintiff may show herself

    to be justly entitled by law and in equity.

                       VIOLATIONS OF THE TEXAS INSURANCE CODE

43. Plaintiff hereby incorporates by reference all facts and circumstances set forth within the foregoing

    paragraphs.

44. Defendant and/or its assigned adjuster’s actions constitute violations of the Texas Insurance Code (“TEX.

    INS. CODE”), Chapters 541 and 542, including but not limited to:

                  A. Misrepresenting to Plaintiff pertinent facts or policy provisions relating to the coverage

                      at issue (TEX. INS. CODE § 541.060(a)(1));

                  B. Failing to attempt, in good faith, to effectuate a prompt, fair and equitable settlement of
                      a claim with respect to which the insurer’s liability has become reasonably clear (§

                      541.060(a)(2)(A));

_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                          Page | 11
  Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                          Page 14 of 30 PageID 17


                C. Failing to promptly provide to a policyholder a reasonable explanation of the basis in the

                    policy, in relation to the facts or applicable law, for the insurer’s denial of a claim or for
                    the offer of a compromise settlement of a claim (§ 541.060(a)(3));

                D. Failing to affirm or deny coverage of Plaintiff’s claim within a reasonable time and

                    failing within a reasonable time to submit a reservation of rights letter to Plaintiff (§
                    541.060(a)(4));

                E. Refusing, failing, or unreasonably delaying a settlement offer on the basis that other

                    coverage is available (§ 541.060 (a)(5));

                F. Refusing, to pay a claim without conducting a reasonable investigation with respect to

                    the claim (§ 541.060(a)(7));

                G. Forcing Plaintiffs to file suit to recover amounts due under the policy by refusing to pay

                    all benefits due (§ 542.003(b)(5));

                H. Misrepresenting an insurance policy by failing to disclose any matter required by law to

                    be disclosed, including a failure to make such disclosure in accordance with another
                    provision of this code (§ 541.061(5));

                I. Engaging in false, misleading, and deceptive acts or practices under the DTPA

                    (§541.151(2));

                J. Failing to acknowledge receipt of the claim, commence any investigation of the claim,

                    and request from the claimant all items, statements, and forms the insurer reasonably



_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                           Page | 12
  Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                          Page 15 of 30 PageID 18


                     believes at that time will be required from the claimant no later than the 15th day after

                     the receipt of notice of the claim (§ 542.055);
                K. Failing to notify the claimant in writing of the acceptance or rejection of a claim no later

                     than the 15th business day after the insurer receives all items, statements, and forms

                     required by the insurer to secure a final proof of loss (§ 542.056(a));
                L. Failing to state the reasons for rejection (§ 542.056(c));

                M. Failing to notify the claimant of the reasons that the insurer needs 45 days in additional

                     time to accept or reject the claim (§ 542.056(d));

                N. Failing to pay a claim not later than the 5th business day after the date of notice of

                     acceptance was made (§ 542.057); and/or

                O. Failing to pay a valid claim after receiving all reasonably requested and required items

                     from the insured. (§ 542.058(a)).

45. By its acts, omissions, failures and conduct, Defendant Allstate Fire and Casualty Insurance Company has

    engaged in unfair and deceptive acts and practices in the business of insurance. Plaintiff, the insured and
    beneficiary, has a valid claim as a result of her detrimental reliance upon Defendant Allstate Fire and

    Casualty Insurance Company’s unfair or deceptive acts or practices. § 541.151(2).

46. Defendant’s aforementioned conduct compelled Plaintiff to initiate this lawsuit to recover amounts due

    under the Policy, by offering substantially less than the amount ultimately recovered. Defendant refused

    to offer more than the grossly undervalued estimates prepared by Defendant Allstate Fire and Casualty

    Insurance Company and/or Defendant’s assigned adjuster, despite knowing the actual damages were much

_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                         Page | 13
  Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                          Page 16 of 30 PageID 19


    greater than what was offered. Defendant’s continued refusal to offer compelled Plaintiff to file suit. §

    542.003(5).
47. Since a violation of the Texas Insurance Code is a direct violation of the DTPA, and because Defendant

    Allstate Fire and Casualty Insurance Company’s actions and conduct were committed knowingly and

    intentionally, Plaintiff is entitled to recover, in addition to all damages described herein, mental anguish
    damages and additional penalty damages, in an amount not to exceed three times the amount of actual

    damages, for Defendant having knowingly, intentionally and/or negligently committed said actions and

    conduct. § 541.152.

48. As a result of Defendant Allstate Fire and Casualty Insurance Company’s unfair and deceptive actions

    and conduct, Plaintiff has been forced to retain the legal services of the undersigned attorneys to protect

    and pursue these claims on her behalf. Accordingly, Plaintiff also seeks to recover her costs and

    reasonable and necessary attorney’s fees as permitted under TEX. BUS. & COM. CODE § 17.50(d) or

    TEX. INS. CODE § 541.152 and any other such damages to which Plaintiff may show herself justly

    entitled by law and in equity.

                            BREACH OF THE COMMON LAW DUTY
                              OF GOOD FAITH & FAIR DEALING

49. Plaintiff hereby incorporates by reference all facts and circumstances in the foregoing paragraphs.

50. From and after the time Plaintiff’s claim was presented to Defendant Allstate Fire and Casualty Insurance

    Company, the liability of Defendant to pay the full claim in accordance with the terms of the Policy was

    more than reasonably clear. However, Defendant has refused to pay Plaintiff in full, despite there being
    no basis whatsoever on which a reasonable insurance company would have relied on to deny full payment.
_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                          Page | 14
  Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                            Page 17 of 30 PageID 20


    Defendant’s conduct constitutes a breach of the common law duty of good faith and fair dealing. See Viles

    v. Security National Ins. Co., 788 S.W.2d 556, 567 (Tex. 1990) (holding that an insurer has a duty to its
    insureds to “investigate claims thoroughly and in good faith” and an insurer can only deny a claim after a

    thorough investigation shows that there is a reasonable basis to deny that claim).

51. For the breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to compensatory
    damages, including all forms of loss resulting from Defendant’s breach of the duty, such additional costs,

    economic hardship, losses due to nonpayment of the amount owed to Plaintiff, and/or exemplary damages

    for emotional distress.

                                               KNOWLEDGE

52. Each of the acts described above, together and singularly, were done “knowingly” and “intentionally,” as

    the terms are used in the Texas Insurance Code, and were a producing cause of Plaintiff’s damages

    described herein.

                                                  DAMAGES

53. Plaintiff will show that all of the aforementioned acts, taken together or singularly, constitute the

    producing causes of the damages sustained by Plaintiff.

54. For breach of contract, Plaintiff is entitled to regain the benefit of Plaintiff’s bargain, which is the amount

    of Plaintiff’s claim, together with attorney’s fees.

55. For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff is entitled to

    actual damages, which include the loss of the benefit that should have been paid pursuant to the Policy,



_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                            Page | 15
  Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                          Page 18 of 30 PageID 21


    court costs and attorney’s fees. For knowing conduct of the acts complained of, Plaintiff asks for three

    times Plaintiff’s actual damages. TEX. INS. CODE § 541.152.
56. For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is entitled to the

    amount of Plaintiff’s claim, interest on the claim at the rate of eighteen (18) percent per year, together

    with attorney’s fees. § 542.060.
57. For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to compensatory

    damages, including all forms of loss resulting from the insurer’s breach of duty, such as additional costs,

    economic hardship, losses due to nonpayment of the amount the insurer owed, and/or exemplary damages

    for emotional distress.

58. For the prosecution and collection of this claim, Plaintiff has been compelled to engage the services of the

    law firm whose name is subscribed to this pleading. Therefore, Plaintiff is entitled to recover a sum for

    the reasonable and necessary services of Plaintiff’s attorneys in the preparation and trial of this action,

    including any appeals to the Court of Appeals and/or the Supreme Court of Texas.

59. Defendant’s acts have been the producing and/or proximate cause of damage to Plaintiff, and Plaintiff
    seeks an amount in excess of the minimum jurisdictional limits of this Court.

60. More specifically, Plaintiff seeks monetary relief, including damages of any kind, penalties, costs,

    expenses, pre-judgment interest, and attorney’s fees, in excess of $200,000.00 but less than $1,000,000.00.

                              ADDITIONAL DAMAGES & PENALTIES

61. Defendant’s conduct was committed knowingly and intentionally. Accordingly, Defendant is liable for

    additional damages under the DTPA, TEX. BUS. & COM. CODE § 17.50(b)(1), as well as all operative

_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                          Page | 16
  Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                          Page 19 of 30 PageID 22


    provisions of the Texas Insurance Code. Plaintiff is clearly entitled to the 18% damages allowed under

    TEX. INS. CODE § 542.060.

                                          ATTORNEY’S FEES

62. In addition, Plaintiff is entitled to all reasonable and necessary attorney’s fees pursuant to the Texas

    Insurance Code, DTPA, and TEX. CIV. PRAC. & REM. CODE §§ 38.001-.005.

                                        COMPEL MEDIATION

63. Pursuant to TEX. INS. CODE § 541.161 and TEX. BUS. & COM. CODE § 17.5051, Plaintiff requests

    that Defendant be made to mediate no later than the 30th day of the signed order, following the 90th day

    after the date for which this pleading for relief is served upon Defendant.

                                             JURY DEMAND

64. Plaintiff demands a jury trial, consisting of citizens residing in Tarrant County, Texas, and tenders the

    appropriate fee with this Original Petition.

                                               DISCOVERY

65. Texas Rule of Civil Procedure 47 has been met in this petition. As such, Plaintiff requests that Defendant

    respond to the Requests for Disclosure, Requests for Production and Interrogatories contained herein:

                                  I. REQUESTS FOR DISCLOSURE

    1. Pursuant to the Texas Rules of Civil Procedure, Plaintiff request that Defendant Allstate Fire and

        Casualty Insurance Company, disclose all information and/or material as required by Rule 194.2,

        paragraphs (a) through (l), and to do so within 50 days of this request.

                                 II. REQUESTS FOR PRODUCTION



_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                        Page | 17
  Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                           Page 20 of 30 PageID 23


    1. Please produce Allstate Fire and Casualty Insurance Company’s complete claim files from the home,

        regional and local offices, as well as third party adjusters/adjusting firms regarding the subject claim,
        including copies of the file jackets, “field” files and notes, and drafts of documents contained in the

        file for the premises relating to or arising out of Plaintiff’s underlying claim.

    2. Please produce the underwriting files referring or relating in any way to the policy at issue in this
        action, including the file folders in which the underwriting documents are kept and drafts of all

        documents in the file.

    3. Please produce a certified copy of the insurance policy pertaining to the claim made subject of this

        lawsuit, including all underwriting files and insurance applications sent on behalf of Plaintiff in her

        attempt to secure insurance on the Property, which is the subject of this suit.

    4. Please produce the electronic diary, including the electronic and paper notes made by Allstate Fire

        and Casualty Insurance Company’s claims personnel, contractors, and third party adjusters/adjusting

        firms relating to the Plaintiff’s claim.

    5. Please produce all emails and other forms of communication by and between all parties in this matter
        relating to the underlying event, claim or the Property, which is the subject of this suit.

    6. Please produce the adjusting reports, estimates and appraisals prepared concerning Plaintiff’s

        underlying claim.

    7. Please produce the field notes, measurements and file maintained by the adjuster(s) and engineers

        who physically inspected the Property, which is the subject of this suit.



_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                          Page | 18
  Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                            Page 21 of 30 PageID 24


    8. Please produce the emails, instant messages and internal correspondence pertaining to Plaintiff’s

        underlying claim.
    9. Please produce the videotapes, photographs and recordings of Plaintiff or Plaintiff’s home, regardless

        of whether Allstate Fire and Casualty Insurance Company intends to offer these items into evidence

        at trial.
    10. Please produce all communications, correspondence, documents and emails between any and all

        assigned adjusters and/or agents and the Plaintiff, not limited to physical or audio recordings of all

        conversations between Plaintiff and any and all assigned adjusters and/or agents.

    11. Please produce all audio recordings or transcripts of conversations, calls, text, email or any other data

        sent to and from Plaintiff by any and all assigned adjusters and/or agents after their letter of

        representation sent by counsel.

    12. Please provide copies of all marketing material sent on behalf of Allstate Fire and Casualty Insurance

        Company and/or its agents after the date of loss of the Property, which is the subject of this suit.

    13. Please provide all correspondence between Allstate Fire and Casualty Insurance Company and its
        assigned adjuster, and all correspondence between Allstate Fire and Casualty Insurance Company and

        its assigned agents, after the date of loss of the Property, which is the subject of this suit.

                                        III. INTERROGATORIES

    1. Please identify any person Allstate Fire and Casualty Insurance Company expects to call to testify at
        the time of trial.



_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                              Page | 19
  Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                          Page 22 of 30 PageID 25


    2. Please identify the persons involved in the investigation and handling of Plaintiff’s claim for insurance

        benefits arising from damage relating to the underlying event, claim or the Property, which is the
        subject of this suit, and include a brief description of the involvement of each person identified, their

        employer, and the date(s) of such involvement.

    3. If Allstate Fire and Casualty Insurance Company or Allstate Fire and Casualty Insurance Company’s
        representatives performed any investigative steps in addition to what is reflected in the claims file,

        please generally describe those investigative steps conducted by Allstate Fire and Casualty Insurance

        Company or any of Allstate Fire and Casualty Insurance Company’s representatives with respect to

        the facts surrounding the circumstances of the subject loss. Identify the persons involved in each step.

    4. Please identify by date, author, and result the estimates, appraisals, engineering, mold and other

        reports generated as a result of Allstate Fire and Casualty Insurance Company’s investigation.

    5. Please state the following concerning notice of claim and timing of payment:

        a.       The date and manner in which Allstate Fire and Casualty Insurance Company received notice

of the claim;
        b.       The date and manner in which Allstate Fire and Casualty Insurance Company acknowledged

receipt of the claim;

        c.       The date and manner in which Allstate Fire and Casualty Insurance Company commenced

investigation of the claim;

        d.       The date and manner in which Allstate Fire and Casualty Insurance Company requested from

                 the claimant all items, statements, and forms that Allstate Fire and Casualty Insurance

_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                          Page | 20
  Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                         Page 23 of 30 PageID 26


                Company reasonably believed, at the time, would be required from the claimant pursuant to

                the investigation; and
        e.      The date and manner in which Allstate Fire and Casualty Insurance Company notified the

                claimant in writing of the acceptance or rejection of the claim.

    6. Please identify by date, amount and reason, the insurance proceeds payments made by Defendant, or
        on Defendant’s behalf, to the Plaintiff.

    7. Has Plaintiff’s claim for insurance benefits been rejected or denied? If so, state the reasons for

        rejecting/denying the claim.

    8. When was the date Allstate Fire and Casualty Insurance Company anticipated litigation?

    9. Have any documents (including those maintained electronically) relating to the investigation or

        handling of Plaintiff’s claim for insurance benefits been destroyed or disposed of? If so, please

        identify what, when and why the document was destroyed, and describe Allstate Fire and Casualty

        Insurance Company’s document retention policy.

    10. Does Allstate Fire and Casualty Insurance Company contend that the insured’s premises were
        damaged by storm-related events and/or any excluded peril? If so, state the general factual basis for

        this contention.

    11. Does Allstate Fire and Casualty Insurance Company contend that any act or omission by the Plaintiff

        voided, nullified, waived or breached the insurance policy in any way? If so, state the general factual

        basis for this contention.



_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                         Page | 21
   Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                           Page 24 of 30 PageID 27


    12. Does Allstate Fire and Casualty Insurance Company contend that the Plaintiff failed to satisfy any

            condition precedent or covenant of the Policy in any way? If so, state the general factual basis for
            this contention.

    13. How is the performance of the adjuster(s) involved in handling Plaintiff’s claim evaluated? State

            what performance measures are used and describe Allstate Fire and Casualty Insurance Company’s
            bonus or incentive plan for adjusters.

                                                 CONCLUSION

66. Plaintiff prays that judgment be entered against Defendant Allstate Fire and Casualty Insurance Company

    and that Plaintiff be awarded all of her actual damages, consequential damages, prejudgment interest,

    additional statutory damages, post judgment interest, reasonable and necessary attorney’s fees, court costs

    and for all such other relief, general or specific, in law or in equity, whether pled or un-pled within this

    Original Petition.

                                                     PRAYER

            WHEREFORE, PREMISES CONSIDERED, Plaintiff prays she be awarded all such relief to which

she is due as a result of the acts of Defendant Allstate Fire and Casualty Insurance Company, and for all such

other relief to which Plaintiff may be justly and rightfully entitled. In addition, Plaintiff requests the award of

treble damages under the Texas Insurance Code, attorney’s fees for the trial and any appeal of this lawsuit, for

all costs of Court on her behalf expended, for pre-judgment and post-judgment interest as allowed by law, and

for any other and further relief, either at law or in equity, to which Plaintiff may show the herself to be justly
entitled.

_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                                            Page | 22
  Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                 Page 25 of 30 PageID 28


                                               Respectfully submitted,

                                               /S/ Chidi A. Oha
                                               McCLENNY MOSELEY & ASSOCIATES, PLLC
                                               James M. McClenny
                                               State Bar No. 24091857
                                               J. Zachary Moseley
                                               State Bar No. 24092863
                                               Chidi A. Oha
                                               State Bar No. 24094877
                                               411 N. Sam Houston Parkway E., Suite 200
                                               Houston, Texas 77060
                                               Principal Office No. 713-334-6121
                                               Facsimile: 713-322-5953
                                               James@mma-pllc.com
                                               Zach@mma-pllc.com
                                               Chidi@mma-pllc.com
                                               Attorneys for Plaintiff




_____________________________________________________________________________________________
Plaintiff Angela Ellison’s Original Petition                                              Page | 23
               Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                                   Page 26 of 30 PageID 29

                                                  Cause Number 048-295648-17
                        ANGELA ELLISON                                                             ALLSTATE FIRE AND CASUALTY
                                                                                VS                     INSURANCE COMPANY

                                                                 OFFICER'S RETURN
   Received      this     Citation By Certified Mail              on    the 19th day of October, 2017     at 10:02 AM; and   executed   at
    B/S CT CORP SYSTEM/REG AGT 1999 BRYAN ST STE 900 DALLAS TX 75201


   within the county of------------------------------ State of TX on the                   30th day of October, 2017    by    mailing   to
   the within named       ALLSTATE FIRE AND CASUALTY INSURANCE COM          a true copy of this   Citation By Certified Mail
   together with the accompanying copy of:
    PLAINTIFF ANGELA ELLISON'S ORIGINAL PETITION




                      Authorized Person/Constable/Sheriff: Thomas A. Wilder


                                                                                  76196-0402




   Fees$      75.00



   (Must be verified if served outside the State of Texas)
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   Signed and sworn to by the said                                                       before me this
   to certify which witness my hand and seal of office



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                                                         County of Tarrant, State of Texas




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 Date Produced: 10/23/2017

 TARRANT COUNTY:

 The following is the delivery information for Certified Maii™/RRE item number 9414 8149
 0202 4634 0636 93. Our records indicate that this item was delivered on 10/20/2017 at
 09:42 a.m. in DALLAS, TX 75201. The scanned image of the recipient information is
 provided below.

 Signature of Recipient :




 Address of Recipient :




 Thank you for selecting the Postal Service for your mailing needs. If you require
 additional assistance, please contact your local post office or Postal Service
 representative.

 Sincerely,
 United States Postal Service

 The customer reference number shown below is not validated or endorsed by the United
 States Postal Service. It is solely for customer use.




 Customer Reference Number: 048-294648-17 DP AC CM
Lint Your Documents                                                                               Page 1 of 1
     Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17                          Page 28 of 30 PageID 31



                                       Ship Request Form

             Ship Request#:       016316




             Sender                                            Recipient

              Name:        Civil DocProd                       Attn To:        Allstate Fire and Casualty Insurance
              Account#:                                        Company:        ~'&Jrporation System-Reg Agt
              Phone:       817-884-1591                        Address:        1999 Bryan St
              Email:       DC_CiviiDocProd@tarrantcounty.com                   Ste 900
              Mail Stop:                                       City:           Dallas
              Building                                         state:          TX
              Floor:                                           Zip:            75201
             Shipper Ref: 048-294648-17 DP/AC/CM               Country:        us

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                                                                              ORIGINAL
                               DISTRICT COURT, TARRANT COUNTY
                                                              CITATION                            Cause No. 048-295648-17
                                        ANGELA ELLISON
                                                      VS.
                              ALLSTATE FIRE AND CASUALTY INSURANCE COMPANY

TO: ALLSTATE FIRE AND CASUALTY INSURANCE COMPANY
                                                         B/S CT CORP SYSTEM/REG AGT 1999 BRYAN ST STE 900 DALLAS, TX 75201-




                                                                                                        ANG~ELL~N'S
You said DEFENDANT are hereby commanded to appear by filing a written answer to the PLAINTIFF
PETITION at or before 10 a• clock A.M. of the Monday next after the expiration of 20 days after
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hereof before the 48th District Court in and for Tarrant County, Texas, at the Courthouse in th~~ ofc:art ~th,
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Tarrant County, Texas said PLAINTIFF being                                                              .... :P     .....    ):> ..,.,
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ANGELA ELLISON                                                                                           n·          ~        oD
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Filed in said Court on      October 11th, 2017 Against
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ALLSTATE FIRE AND CASUALTY INSURANCE COMPANY                                                                  C)      N        ·-<
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For suit, said suit being numbered 048-295648-17 the nature of which demand is as shown on said
PLAINTIFF ANGELA ELLISON'S ORIGINAL PETITION      a copy of which accompanies this citation.



                                                            CHIDIAOHA
                                                            ""'!"•'-"' ELLISON Phone No.
                                                                  SAM HOUSTON       DTl"'"""'" .,...,
         Thomas A. Wilder            , Clerk
of said Court, at office in the City of Fort



NOTICE: You have been sued, You may employ an attorney. If you or your
clerk who issued this citation by 10:00 AM. on the Monday next following the expiration of twenty days after you were
served this citation and petition, a default judgment may be taken against you.
          Thomas A. Wilder, Tarrant County District Clerk, 100 N CALHOUN, FORT WORTH TX 76196-0402

                                      OFFICER'S RETURN *04829564817000015*
Received this Citation on the _ _ _ day of - - - - - - - - - - - - -                   at          o'clock _M; and executed at
- - - - - - - - - - - - - - - - - within the county of - - - - - - - - • State of _ _ _ _ at _ _ _ _ o'clock _M
on the _ _ _ _ day of - - - - - - - - • _ _ _ by mailing to the within named - - - - - - - - - - - - - - - - - -

a true copy of this Citation together with the accompanying copy of PLAINTIFF ANGELA ELLISON'S ORIGINAL PETITION
having first endorsed on same the date of delivery.



                         Deputy/Constable/Sheriff:
                                                                      By _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Deputy
County of - - - - - - - - - - - - - - State of - - - - - -
Fees$ _ _ __
                                                                 (Must be verified if served outside the State of Texas)
state of - - - - - - - County of - - - - - - - - - - - - - - -
Signed and sworn to by the said - - - - - - - - - - - - - - - - - before me this _ _ day of _ _ __
to certify which witness my hand and seal of office
(Seal)
                                               County o f - - - - - - - - - - ' State o f - - - - - - - - -
                                      Case 4:17-cv-00911-O Document 1-1 Filed 11/10/17     Page 30 of 30 PageID 33
                CITATION

        Cause No. 048-295648-17

  ANGELA ELLISON


             vs.
  ALLSTATE FIRE AND CASUALTY
  INSURANCE COMPANY

           ISSUED

 This 18th day of October, 2017

        Thomas A. Wilder
   Tarrant County District Clerk
         100 N CALHOUN
   FORT WORTH TX 76196-0402

 By        AMANDA CARTER Deputy


 CHIDIAOHA
 Attorney for: ANGELA ELLISON
 Phone No. (713)334-6121
 ADDRESS: 411 N SAM HOUSTON PKWY E STE 200

      HOUSTON, TX 77060

      CIVIL LAW

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